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1    Anna C. Haac (pro hac vice)
     TYCKO & ZAVAREEI LLP
2    1828 L Street, N.W., Suite 1000
     Washington, DC 20036
3    Phone: 202-973-0900
     Fax: 202-973-0950
4    Email: ahaac@tzlegal.com
     Attorney for Plaintiffs (additional
5    counsel on signature page)
6    Virginia A. Gibson (pro hac vice)
7    HOGAN LOVELLS US LLP
     1735 Market Street, 23rd Floor
8    Philadelphia, PA 19103-2799
     Tel: (267) 675-4600
9    Fax: (267) 675-4601
     virginia.gibson@hoganlovells.com
10
     Attorney for Defendant Plain Green, LLC
11   (additional counsel on signature page)
12                                 UNITED STATES DISTRICT COURT
                                  NORTHER DISTRICT OF CALIFORNIA
13

14   KIMETRA BRICE, EARL BROWNE,                   Case No.: 3-18-cv-01200-WHO
     and JILL NOVOROT,
15                                                 STIPULATED REQUEST TO STAY
             Plaintiffs,                           PROCEEDINGS AS TO PLAIN GREEN,
16   v.                                            LLC
17   KENNETH REES, GPL SERVICING,
18   LTD., PLAIN GREEN, LLC, GREAT
     PLAINS LENDING, LLC, VICTORY                  Hon. William H. Orrick
19   PARK CAPITAL ADVISORS, LLC,
     VICTORY PARK MANAGEMENT,
20   LLC, SCOTT ZEMNICK, JEFFREY
     SCHNEIDER, THOMAS WELCH,
21   HAYNES INVESTMENTS, LLC, and
     L. STEPHEN HAYNES,
22

23           Defendants.

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1            WHEREAS, Plaintiffs and Defendant, Plain Green, LLC (collectively herein the “Parties”), by

2    and through counsel, hereby advise the Court that the parties have resolved the claims between them

3    in principle.

4            WHEREAS, the parties intend to effectuate their settlement as part of the settlement in the

5    jointly-administered bankruptcy cases In re: Think Finance, LLC, et al., Case No. 17-33964 pending in

6    the United States Bankruptcy Court in the Northern District of Texas as part of the bankruptcy plan

7    confirmation process and a formal Fed. R. Civ. P. 23(b)(3) class-wide settlement.

8            WHEREAS, this Court previously entered an order granting the Parties stipulated request to

9    (1) extend the deadline for Plaintiffs’ Response to Plain Green’s Motion to Dismiss to January 28,

10   2019; (2) extend the deadline for Plain Green’s Reply to February 4, 2019; and (3) set the hearing on

11   Plain Green’s Motion to Dismiss for February 20, 2019 in order to allow the Parties to continue

12   settlement negotiations. (Dkt. 100.)

13           WHEREAS, in light of the settlement in principle reached between the Parties, a stay will

14   conserve the resources of the Court and the Parties, by not presenting to the Court briefing that is

15   unlikely to require a ruling.

16             NOW, THEREFORE THE PARTIES AGREE TO AND JOINTLY REQUEST that the

17   Court vacate the afore-mentioned deadlines and hearing relating to Plain Green’s Motion to Dismiss

18   and stay this matter as to Plain Green until May 1, 2019, at which time the parties will advise the Court

19   of whether the settlement has been confirmed in the bankruptcy court and a final approval order has

20   been entered.

21           A proposed order to that effect is attached.

22

23           Dated: January 28, 2019                        Respectfully submitted,

24           /s/ Anna C. Haac                               /s/Virginia A. Gibson
             Anna C. Haac (pro hac vice)                    Virginia A. Gibson (pro hac vice)
25           TYCO & ZAVAREEI LLP                            Kendyl E. Keesey (pro hac vice)
             1828 L. Street, N.W., Suite 1000               HOGAN LOVELLS US LLP
26           Washington, DC 20036                           1735 Market Street, 23rd Floor
             Phone: 202-973-0900
27                                                          Philadelphia, PA 19103-2799
             Fax: 202-973-0950                              Tel: (267) 675-4600
             Email: ahaac@tzlegal.com
28                                                          Fax: (267) 675-4601
                                                            virginia.gibson@hoganlovells.com
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                     STIPULATED REQUEST TO STAY PROCEEDINGS AS TO PLAIN GREEN, LLC
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         Annick M. Persinger (SBN 272996)           kendyl.keesey@hoganlovells.com
1        Tanya S. Koshy (SBN 277095)
         TYCO & ZAVAREEI LLP                        Colleen E. Roh Sinzdak (pro hac vice)
2        The Tower Building                         Kyle Druding (pro hac vice)
3        1970 Broadway Suite 1070                   HOGAN LOVELLS US LLP
         Oakland, CA 94612                          555 13th St. NW
4        Phone: 510-254-6808                        Washington DC, 20004
         Fax: 202-973-0950                          Tel: (202) 637-5600
5        Email: aspersinger@tzlegal.com             Fax: (202) 637-5910
         Email: tkoshy@tzlegal.com                  colleen.sinzdak@hoganlovells.com
6                                                   kyle.druding@hoganlovells.com
         Craig C. Marchiando, Esq., (SBN 283829)
7
         Leonard A. Bennett, Esq., (pro hac vice)   Joseph F. Halloran (pro hac vice)
8        CONSUMER LITIGATION                        Benjamin N. Pachito (SBN 308839)
         ASSOCIATES, P.C.                           JACOBSON, MAGNUSON, ANDERSON
9        763 J. Clyde Morris Blvd., Ste. 1-A        & HALLORAN P.C.
         Newport News, VA 23601                     180 East Fifth Street, Suite 940
10       Telephone: (757) 930-3660                  Saint Paul, MN 55101
         Facsimile: (757) 930-3662                  T: (651) 644-4710
11       Email: lenbennett@clalegal.com             F: (651) 644-5904
12       Email: craig@clalegal.com                  jhalloran@thejacobsonlawgroup.com
                                                    bpachito@thejacobsonlawgroup.com
13       Kristi C. Kelly, Esq., (pro hac vice)
         Andrew J. Guzzo, Esq., (pro hac vice)      Jeffrey Michael Goldman
14       KELLY & CRANDALL, PLC                      PEPPER HAMILTON LLP
         3925 Chain Bridge Road, Suite 202          4 Park Plaza, Suite 1200
15       Fairfax, VA 22030                          Irvine, CA 92614
         (703) 424-7572                             Phone: 949-567-3547
16
         (703) 591-0167 Facsimile                   Fax: 949-863-0151
17       Email: kkelly@kellyandcrandall.com         Email: goldmanj@pepperlaw.com
         Email: aguzzo@kellyandcrandall.com
18
         Attorneys for Plaintiffs                   Attorneys for Defendant Plain Green, LLC
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                STIPULATED REQUEST TO STAY PROCEEDINGS AS TO PLAIN GREEN, LLC
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1           I, Anna C. Haac, hereby attest pursuant to N.D. Cal. Local Rule 5-1(i)(3), that

2    concurrence to the filing of this document has been obtained from each signatory hereto.

3                                                        /s/ Anna C. Haac
                                                         Anna C. Haac
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                  STIPULATED REQUEST TO STAY PROCEEDINGS AS TO PLAIN GREEN, LLC
